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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA - NEW BERN DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Clifford
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Earl
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Hutton
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-1785
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Clifford Earl Hutton                                                                        Case number (if known)




                                  About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have          I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and      Business name(s)                                              Business name(s)
     doing business as names

                                  EINs                                                          EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                  290 Dell BrockRoad
                                  Beulaville, NC 28518
                                  Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                  Onslow
                                  County                                                        County

                                  If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                  above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                  notices to you at this mailing address.                       mailing address.



                                  Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing         Check one:                                                    Check one:
     this district to file for
     bankruptcy                          Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                         I have lived in this district longer than in any               have lived in this district longer than in any other
                                         other district.                                                district.

                                         I have another reason.                                         I have another reason.
                                         Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Clifford Earl Hutton                                                                          Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                         bankruptcy petition.




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Debtor 1    Clifford Earl Hutton                                                                           Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Clifford Earl Hutton                                                                       Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Clifford Earl Hutton                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”
                                                 No. Go to line 16b.

                                                 Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                             money for a business or investment or through the operation of the business or investment.
                                                 No. Go to line 16c.
                                                 Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under              No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that             Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                        are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                     No
     are paid that funds will
     be available for                            Yes
     distribution to unsecured
     creditors?

18. How many Creditors do             1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                              5001-10,000                                   50,001-100,000
    owe?                              50-99
                                      100-199                                          10,001-25,000                                 More than100,000
                                      200-999

19. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to           $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                   $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                      $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                      $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                   United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                   bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                   and 3571.
                                   /s/ Clifford Earl Hutton
                                   Clifford Earl Hutton                                              Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on     July 7, 2017                                      Executed on
                                                   MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Clifford Earl Hutton                                                                             Case number (if known)




For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one                under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                  for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by     and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need      schedules filed with the petition is incorrect.
to file this page.
                                  /s/ Blake Y. Boyette                                               Date         July 7, 2017
                                  Signature of Attorney for Debtor                                                MM / DD / YYYY

                                  Blake Y. Boyette
                                  Printed name

                                  Stubbs & Perdue, P.A.
                                  Firm name

                                  PO Box 1654
                                  New Bern, NC 28563
                                  Number, Street, City, State & ZIP Code

                                  Contact phone     252-633-2700                               Email address

                                  44239
                                  Bar number & State




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CLIFFORD EARL HUTTON               BLAKE Y. BOYETTE                  SECURITIES & EXCHANGE COM
290 DELL BROCKROAD                 STUBBS & PERDUE, P.A.             OFFICE OF REORGANIZATION
BEULAVILLE, NC 28518               PO BOX 1654                       950 E PACES FERRY RD NE 900
                                   NEW BERN, NC 28563                ATLANTA, GA 30326-1382


SECRETARY OF TREASURY              NC DEPT OF REVENUE                UNITED STATES ATTORNEY
ATTN: MANAGING AGENT               ATTN: MANAGING AGENT              ATTN: CIVIL PROCESS CLERK
1500 PENNSYLVANIA AVE NW           PO BOX 1168                       310 NEW BERN AVENUE
WASHINGTON, DC 20220               RALEIGH, NC 27602                 FEDERAL BLDG SUITE 800
                                                                     RALEIGH, NC 27601-1461

INTERNAL REVENUE SERVICE           IRS                               ATTORNEY GENERAL
ATTN: MANAGING AGENT               ALAMANCE BLDG MAIL STOP 24        950 PENNSYLVANIA AVENUE NW
PO BOX 7346                        4905 KOGER BLVD                   WASHINGTON, DC 20530
PHILADELPHIA, PA 19101-7346        GREENSBORO, NC 27407-2734


N.C. DEPT. OF COMMERCE, DES        AMERICAN MEDICAL COLLECTION AG    BASS & ASSOCIATES, P.C.
ATTN: MANAGER OR AGENT             ATTN: MANAGER, AGENT, OFFICER     ATTN: MANAGER, AGENT, OFFIC
P.O. BOX 26504                     4 WESTCHESTER PLAZA               3936 E FT LOWELL RD STE 200
RALEIGH, NC 27611                  SUITE 110                         TUCSON, AZ 85712-1083
                                   ELMSFORD, NY 10523

BERNHARDT AND STRAWSER PA          CASEY J. HUTTON                   FINANCIAL AGENT SVS
ATTN: MANAGER, AGENT, OFFICER      290 DELL BROCKROAD                ATTN: MANAGER, AGENT, OFFIC
5821 FAIRVIEW ROAD                 BEULAVILLE, NC 28518              PO BOX 2576
CHARLOTTE, NC 28209                                                  SPRINGFIELD, IL 62708


FIRST DATA MERCHANT SERVICES       FORD MOTOR CREDIT                 FRANKLIN COLLECTION SERVICE
ATTN: MANAGER, AGENT, OFFICER      ATTN: MANAGER, AGENT, OFFICER     ATTN: MANAGER, AGENT, OFFIC
PO BOX 407092                      PO BOX 62180                      PO BOX 3910
FORT LAUDERDALE, FL 33340          COLORADO SPRINGS, CO 80962        TUPELO, MS 38801


JACKSONVILLE CHILDREN'S CLINIC     NAVY FEDERAL CR UNION             NC DEPARTMENT OF REVENUE
ATTN: MANAGER, AGENT, OFFICER      ATTN: MANAGER, AGENT, OFFICER     ATTN: MANAGER, AGENT, OFFIC
120 MEMORIAL DRIVE                 PO BOX 3700                       P.O. BOX 1168
JACKSONVILLE, NC 28546             MERRIFIELD, VA 22119              RALEIGH, NC 27602-1168


ONEMAIN                            ONSLOW COUNTY TAX COLLECTOR       ONSLOW MEMORIAL HOSPITAL
ATTN: MANAGER, AGENT, OFFICER      ATTN: MANAGER, AGENT, OFFICER     ATTN: MANAGING AGENT
601 NW 2ND ST                      234 NW CORRIDOR BLVD              317 WESTERN BLVD
EVANSVILLE, IN 47708               JACKSONVILLE, NC 28540-5309       JACKSONVILLE, NC 28546


PALADIN COMMERCIAL GROUP           PREMIER PERFORMANCE PRODUCTS PRINCIPIS CAPITAL LLC
ATTN: MANAGER, AGENT, OFFICER      ATTN: MANAGER, AGENT, OFFICER ATTN: MANAGER, AGENT, OFFIC
12200 E BRIARWOOD AVE, STE 250     278 E. DIVIDENT DR.           111 TOWN SQUARE PLACE
ENGLEWOOD, CO 80112                REXBURG, ID 83440             STE 700
                                                                 JERSEY CITY, NJ 07310
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SCA COLLECTIONS, INC             SOLSTAS LAP PARTNERS            SPRINGLEAF FINANCIAL SVS
ATTN: MANAGER, AGENT, OFFICER    ATTN: MANAGER, AGENT, OFFICER   ATTN: MANAGER, AGENT, OFFIC
PO BOX 910                       1915 S 17TH ST, #100            521 YOPP RD, STE 212
EDENTON, NC 27932                WILMINGTON, NC 28401            JACKSONVILLE, NC 28540


STUBBS & PERDUE, P.A.            TAROFF & TAITZ LLP              THOMAS ZUREK
310 CRAVEN STREET                ATTN: MANAGER, AGENT, OFFICER   C/O J. HEGG LAW PLLC
PO BOX 1654                      ONE CORPORATE DR, STE 102       ATTN: MANAGER, AGENT, OFFIC
NEW BERN, NC 28563-1654          BOHEMIA, NY 11716               310 NEW BRIDGE STREET
                                                                 JACKSONVILLE, NC 28540

TIMOTHY R. OSWALT                TRIPLE-C DIESEL PERFORM., LLC   WELLS FARGO HOME MORTGAG
ATTORNEY AT LAW                  ATTN: MANAGER, AGENT, OFFICER   ATTN: MANAGER, AGENT, OFFIC
ATTN: MANAGER, AGENT, OFFICER    602 RICHLANDS HIGHWAY           MAC #2302-04E
825 GUM BRANCH ROAD, SUITE 131   JACKSONVILLE, NC 28540-3655     DES MOINES, IA 50306
JACKSONVILLE, NC 28540
